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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF ALABAMA

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       2:17-cr-511-WKW-SRW
                                                    )
LILLIAN AKWUBA                                      )

      RESPONSE TO COURT ORDER1 AND REQUEST FOR EX-PARTE HEARING



         Comes now Lillian Akwuba, by and through the undersigned, and responds in writing to

the Court’s order of Jan 4, 2022. The undersigned reports as follows:

     1. The undersigned has consulted with Ms. Akwuba regarding her Motion to Appoint

         Counsel.2

     2. Ms. Akwuba wishes to proceed with her motion and to present her grounds for the

         motion to the Court. She claims the existence of a conflict of interest preventing the

         undersigned from further representation of her in this matter.

     3. The undersigned thus requests that Ms. Akwuba’s motion be set for ex-parte hearing.



         Respectfully submitted this the 9th day of January, 2022.

                                                     s/ Andrew M. Skier
                                                    ANDREW M. SKIER (SKI013)
                                                    8191 Seaton Place
                                                    Montgomery AL 36116
                                                    (334) 263-4105 (Voice)
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1    Doc 614, directing the undersigned to consult with Ms. Akwuba as to whether her Motion to Appoint Counsel
     (Doc 611) requires further Court action.
2    Doc 611.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 9, 2022, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system, which will send notification of such filing to the
following:
       Hon. Megan A. Kirkpatrick

       Assistant United States Attorney


                                              s/ Andrew M. Skier
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